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Arthur A. Hartinger (State Bar No. 121521)
Geoffrey Spellberg, Esq. (SBN: 121079)
Laura Lee Briggs (State Bar No. 197068)
MEYERS, NAVE, RIBACK, SILVER & WILSON
555 12th Street, Suite 1500

Oakland, California 94607

Telephone: (510) 808-2000

Facsirnile: (510) 444-l 108

Email: ahartinger meyersnave.com
Email: gspellberg meyersnave.com
Email: lbriggs@meyersnave.com

Attorneys for Defendants
CITY OF STOCKTON, MARK LEWIS
and WILLIAM GARY GILLIS

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

JAIME HUGHES, MARY CORONADO, ) Case No: CIV. S-03 0166 MCE-DAD
AUDREY MILLS, VIRGINA CARDOZA, )
KAREN DELUCCHI, JOLENE GIBSON, )
BARBARA HEDRICK, SUZANNE )
HENNING, WILL JOHNSON, LlNDA )
MAGER, MARIA MACIAS, CARL ) DECLARATION OF MARK COHEN
MORROW, CANDICE PRICE, VIRGINIA )
RUlZ, CARMEN SIMMONS, TREASA )
TREDWELL, MARlNA TORRES, SHEILA )
WALL, LORIE WEISS and KATHI LYNN )
CORONADO, §

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Judge Morrison C. England, Jr.
Plaintiff,

Complaint Filed: January 28, 2003
V. Trial Date: December l, 2004
CITY OF STOCKTON; MARK LEWIS;
WILLIAM GARY GILLIS; and DOES l
through 100, in their individual capacities,

Defendants.

 

I, Mark Cohen, declare:

l. I have personal knowledge of the following facts and if called as a Witness l could and
Would testify confldentially thereto.

2. l arn providing this declaration at Mr. Spellberg’s request in response to Plaintiffs’
Motion in Lirnine to exclude my testimony at trial. Attached hereto as Exhibit A is a true and correct

copy of the report that I prepared in this action pursuant to the Federal Rules.

 

 

 

Declaration of Mark Cohen [ClV. S-03 0166 MCE-DAD] l

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Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 2 of 38

3. lamnotaudhavencvcridentiliedthatlamanwcpertonthoFLSAor'thatlwouldbe
giving any opinion about ina FLSA, My inasman is amc such issues m either a legal question
or a question for thojm'y.

4. I am an economic export and have performed wage and liour, lost wage and other
monies calculations in hundreds of casci. l

5. Gn approximately 1045 occasions I have performed this type of wage calculation
workonmanersinvolvingFLSAdisputcs. ’I'hus,althoughlsmnotancxpmintha FLSA,anddo.
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involving 'FLSA disp\nes.

6. Iwasnotdeposcdbythel’laintiifsinthisactionandsotbeyhavenotmadeanyeEort,
to probe or test my opinions

7 . My calculadons and opinions are fully consistent with standard economic malyses in
tire area of wage and hour calculationsr Thc worksheets attached to the report fully show those
calculations

l. Conirary to P!ainxifl:`s' argument, l am not crossing anew FLSA rata which l am
calling the “Effcctivc Ratc.” By using the words “cf£cctive ratc” in the repott, I am simply
identifying the sonral rates at issue bere. I calculate three rates in total_, one for a Teleoommunicaror
l, one for a Tsle communier ll and finally one for a Teleoonnnunicator supervision

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the forgoing are true and correct executh this ____ day of Iune, 2005 in Lafayctte, Ca,lifomia.

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Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 3 of 38

EXHIBIT A

Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed Oi5/15/O5 Page 4 of 38
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PACiFiC ECoNoMic CoNsULTANTS, INC.

3732 MOUNT D|ABLO BOULEVARD, SU|TE 372
LAFAVETTE, CAL|FORN|A 94549

TELEPHONE (925) 299-1200
FACS|M|LE: (925) 299-1490

February 2, 2004

Arthur A. Hartinger

Meyers, Nave, Riback, Silver & Wilson

555 12"‘ sireei, suite 1500

Oakland, CA 94607 ll

/<_>`!5

Re: Hughes. et al. v. Citv of Stockton. et al.

Dear Mr. Hartinger:

As Chief Economist of Paciflc Economic Consultants, Inc., I have been retained to
analyze the plaintiff claimed economic losses. I have also been asked to compute the
effective wages of Fire Telecommunicators for the City of Stockton from 2000 to the
present. Lastly, I have been retained to analyze the work product of plaintiff retained
experts relating to wage rate calculations and economic losses.

As l understand, plaintiff claims that after November 2000, Fire Telecommunicators were
not paid appropriately They claim that they Should have received additional overtime

Pay-
In order to conduct my study, your office provided me with the following information:

Pre-Trial Scheduling Order

City of Stockton Salary Schedules for Fire Telecommunicators, 1999 - 2004
Stockton City Council Resolution No. 00 ~ 0559

Rule 26. General Provisions Governing Discovery; Duty of Disclosure

Hours History Detail, l/15/99 ~ 7/31/03, for Jaime Hughes

Hours History Detail,4 1/15/99 - 7/31/03, for Lorie Weiss

Hours History Detail, 2/15/00 ~ 7/31/03, for Jolene Gibson

Direct Deposit Advice documents, incomplete 6/16/99 - 10/31/03, for Jaime Hughes
9. Direct Deposit Advice documents, incomplete 2/1/99 - 11/15/03, for Lorie Weiss
10 Direct Deposit Advice documents, incomplete 12/16/00 ~ 10/31/03 for Jolene Gibson
1 1 1999- 2002 W- 2 Statements for Jaime Hughes

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in addition to review of the above, l have also spoken to you, Laura Lee Briggs of your
office and Judy Ng with the City of Stockton. Briefly, you provided me with the

SOUTHERN CALlFORNlA OFFICES
5743 SM|THWAY STREET, SU|TE 106 ~ LOS ANGELES, CALlFORNlA 90040 ' TELEPHONE; (323) 722 - 8047 ’ FACSlM|LE; (323) 722 - 2064
4101 ALMOND STREET ' FilVERSIDE, CALlFOFiN|A 92501 ' TELEPHONEZ (909) 781 ~ 0960 ' FACS|M|LEI (909) 781 - 4221

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assignment Ms. Briggs explained that the specific payroll information provided for the
three plaintiffs, Ms. Hughes, Weiss and Gibson because each represented a different
position Ms. Hughcs is a Fire Telecommunicator Supervisor, Ms. Weiss is a Fire
Telecommunicator ll and MS. Gibson is a Fire Telccommunicator I. As such, they are
representative of the plaintiff group. Both Ms. Hughes and Ms. Weiss are at the top step
throughout the period in question, so calculations are simplified Ms. Gibson was
selected as a Tclecommunicatorl because the remaining three F irc Telecommunicator l
workers did not work throughout the period in question, or did training work on an
alternative schedule during the period in question,

1 have calculated the hourly effective wage rates derived from monthly salary schedules
for Fire Telecommunicator I, Fire Telecommunicator II and F irc Telecommunications
Supervisors, from 2000 to 7/31/03 as they pertain to Ms. Hughes, Weiss and Gibson. The
attached worksheets show my calculations for each position. Additionally, I have
compared actual earnings for Ms. Hughes, Weiss and Gibson with earnings that would be
expected given effective hourly rates in place between 2000 and 2003. My calculations
are also attached to this letter.

ln summary, you will find that the comparison calculations show that MS. Hughes, Ms.
Weiss and Ms. Gibson earned income in excess of what they would have been
compensated based on the effective hourly rates in place. A partial explanation for this
overpayment is that actual non-regularly scheduled over-time pay was calculated at 1.5
times an hourly rate that was inclusive of regularly scheduled over-time.

Please note that I have not yet had the opportunity of reviewing work product of plaintiff
retained experts relating to wage rate calculations and economic losses. As such, l cannot
comment upon their work at this time. Further, please note that if additional information
becomes available, 1 may augment or change my opinion.

Finally, please find enclosed a copy of my CV, a fee schedule and a listing of testimonies

in the past four years. lf you have any questions, please do not hesitate to contact me.

Sincerely,

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Mark Cohen
Chief Economist

Attachements

Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 6 of 38

PACiFIC ECoNoMIC CoNsULTANTs, INC.

3732 MOUNT DlABLO BOULEVAF|D. SU|TE 372 TELEPHONE: (925) 299-‘,200
LAFAYEITE, CAL|FORNIA 94549 FACS|M|LE; (925) 299~1490

MARK COHEN

CURRICULUM VITAE

FINANCIAL, STATISTICAL & REHABILITA'I`ION ECONOMIST

PACIFIC ECONOMIC CONSULTANTS, INC., Lafayette, Califomia, 1995 to Present.
Principal, Chief Economist. Valuation of businesses and economic losses in business,
personal injury, Wrongful death, labor and marital litigation Preparation of statistical
analyses, vocational, labor and job market consultation and studies. Development
and placement of structured settlement alternatives

BAY AREA PSYCHOTHERAPY TRAINING INSTITUTE, Lafayette, Califomia, 1994
to 2001 .
Member, Board of Directors. Consultation in the business development and
management of this non-profit training institute.

THE UD'lNSKY GROUP, Berkeley, Califomia, 1984 to 1995.
Vice President. Valuation of businesses and economic losses in business, personal
injury, wrongful death, labor and marital litigation Preparation of statistical
analyses, labor and job market consultation and studies. Development and placement
of structured settlement altematives.

TEACHING EXPERIENCE

 

DOMINICAN COLLEGE, San Rafael, Califomia, 1992 to 1998.
Adj unct Professor of Graduate Level International Finance, Monetary Systems and
Investments, M.B.A. Program; Undergraduate Level Intemational Finance and
Investments, Business School Program.

EUROPEAN BUSINESS SCHOOL, Brussels, Belgium, 1991.
Adjunct Professor of Undergraduate Level Money and Banking, Statistics, and
Management.

SOUTHERN CALIFORN[A OFFlCES
5743 SMITHWAY STREET, SU|TE 106 ‘ LOS ANGELES, CAL|FORN|A 90040 ° TELEPHONE: (323) 722 ~ 8047 ° FACSIM|LE: (323) 722 - 2064
4\01 ALMOND STREET » R|VERS|DE, CAUFORN|A 92501 ' TELEPHONE: (909) 781 - 0960 ' FACS|M|LE; (909) 781 - 4221

Page 2 of2
Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 7 of 38

EDUCATION

UNIVERSITY OF CALIFORI\HA AT BERKELEY. Bachelors of Science, Business
Administration, 1982. Emphasis in Finance. '

BOSTON UNIVERSITY. Masters of Science, Management, l99l. Emphasis in
Intemational Finance. Graduated first in class.

ST. MARY’S COLLEGE. Masters of Arts, Counseling, 1998. Emphasis in
Vocational Rehabilitation and Career Counseling.

LINDENWOOD COLLEGE: (l) Principles of Business Valuation, (2) Business
Valuation Theory and Methodology, (3) Business Valuation: Selected Advanced
Topics.

l PUBLICATIONS AND INVITED PRESENTATIONS

“Economic Issues For Vocational Experts 'l`o Consider in Vocational Analysis,”
presented to the Califomia Association of Rehabilitation and Re-Employment
Professionals, Oakland, November 2002.

“Estirnating Economic Loss To Injured Self Employed Workers,” presented to the
American Rehabilitation Economics Associations (AREA), Reno, May 1998.

“Methodologies to Improve Economic and Vocational Analysis in Personal Injury
Litigation,” with Thomas Yankowski, M.S., C.V.E., Litigation Economics Digest,
National Association of Forensic Economics, Missouri. Volume II, Issue No. 2,
Summer 1997. Also published in Vocational Evaluation.and Work Adjustment
Joumal, The Professional Journal of The Vocational Evaluation and Work
Adjustment Association, Volume 31, No. 3/4, F all/W inter 1998.

 

“Vocational Evaluation and Economic Analysis in Personal lnjury and Wrongful
Termination Cases,” with Thomas Yankowski, M.S., C.V.E., presented to the
National Association of Rehabilitation Professional in the Private Sector; San
Francisco, April 1995.

“The Economics of Employment Discharge and Your Case,” with Jerald H. Udinsky,
Ph.D., A.S.A., The Lawyer’s Brief`, Business Laws, lnc., Ohio. Volume 20, Issue No.
_5, March 15,1990.

“Estimation of Future Medical and Rehabilitation Care Costs: Issues and Questions
for The Attention of Rehabilitation Professionals,” presented to the Registered Nurses
Professionals Association, Santa Clara Valley Medical Center, January 1990.

LICENSES, CERTIFICATIONS AND ASSOCIATIONS

Certified Eamings Analyst, American Rehabilitation Economics Association.
American Society of Appraisers, Business Valuation.

Califomia State Licensed Life Insurance Agent.

American Economics Association.

Califomia Association of Rehabilitation and Re~Employment Professionals.
Westem Economic Association.

National Association of Forensic Economics.

Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 8 of 38

PAClFiC EcoNoMlC CoNsULTANTs, INC.

3732 MOUNT DIABLO BOULEVARD. SUITE 372 TELEPHONE.' (925) 299-1200
LAFAYE`{`TEl CAL|FORN\A 94549 FACS|MILE' (925) 299~1490

RATE SCHEDULE

 

Effective 2/1/04

$230 per hour for review, consultation,.analysis and travel

$460 per hour, one-hour minimum, for deposition and trial testimony

SOUTHERN C.~\LlFORN|A OFFlCE,S
5743 SMITHWAY STREET, SU|TE 106 ' LOS ANGELES, CAL|FORN|A 90040 ' TELEPHONE: (323) 722 - 8047 ' FACS|M|LEZ (323) 722 ~ 2064
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Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 9 of 38
List of Testimonies in the Past Four Years

Forbes v. United Air|ines
Diehl v. P|ummer, et a|.

' Wa|ker v. Shearson

Bay Cities v. Cameron
Teknekron v. Sharkansky
Chan v. Safir

Puryear v. Mar|es

Kisi v. Enterprise Rent-A-Car
Plant v. Manson Construction
Omodt v. Faigo

Leeson v. One Steuart
Peterson v. Wil|iams

Mere| v. APL

Ve|asco v. Patet

Shiah v. O’Connor Hospita|
Bennett v. C.C.S.F.

Jones & White v. Honda North
Peeler v. Statewide Concrete
Trave|quest v. Ro\yn
McLean v. Ward Machinery
Gregory v, United Air|ines

Eooker v. Bay Area Contract
Transportation Services

Leyvas v. Washington
Township Hospita|

Greenwe|| v. Kap|an, M.D.

Beddor v. Mindscape, |nc.
Adams v. CPMC

Fow|er v. U.C. Regents
Greer v. Co||ins

Ba|kwel| v. APL

Baskin v. Kaiser

Hansen v. Tereu|

Shu|er v. Tofa|

Wyatt v. Dupps
Cummings v. U.C. Regents
Divack v. Pau|i

Estoursy v. Skil

Sawyer v. Omar
Contreras v. Crocodile Café
Acevedo v. Willis

Howard v. Tam

Thorton v. Silvert

Carvey v. Hanna

Hatfie|d v. Matsor\

Edge|l v. ASM

Warner v. Lucky Stores

Giu|iano v. Eden Township
Hospita| District

Ha|loran v. Pilkington North
America

Jessup v. Lukas

Donne||an v. DEB Construction
B|ake|y v. Meyers

Su||ivan v. De|ta Air|ines
Monday v. Discovery Point Travel
Knobel v. Kaiser

Boutsikakis v. Kel|ert
Nedderman v. U.C. Regents
Leonardi v. Cameron

Lindo v. Solarzamo

Braun v. C.C.S.F.

Whimp|e v. lnterpipe

Schneider v. Hudson

Heaton v. FHP

Corra|| v. Community Orthopedic
Angelos v. Pontente

Tank v. St. Mary’s

Riordan v. Friedeberg

Weinstein v. St. Mary's Hospita|
Serrano v. Aguirre

Rickabaugh v. Enochs

Bertram v. Merit Behavioral Care

G|en Holly Entertainment v.
Tektronix, lnc, et al.

Hobbs v. URS Corp.

Vargas v. Ashraf

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Case 2:03-cV-00166-|\/|CE-DAD Document 195 Filed 06/15/05 Page 11 of 38

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- mmmma 03 0060060 05062 3050. mxomo$a 30_.30_ 0<0330 3050 x 39 030 moEm_ 000_3030_ 0<0330 3050 X A.m.

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Case 2

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Case 2

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Case 2

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Case 2

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Case 2

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Case 2

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_:\0000 . _~\0:~000 .§m_w 0000_000 000.000 000.05 Pm$.m§ 0 :.mmmw 0 mm__~w.wo 0 wm.~m~.m~ 0 :~>.09
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iiwoom . 0~\0:»00~ lHo~m_m N000.000 000.000 NN0.000 00000.000 w _w; gm m mm..~mw.ma m mm_mw».w... 0 §.00.`..000
:<~000 . 300\0000 40$_0 ._§0.000 >0>.00.~ NB.moo N.~§‘omw 0 533 0 wm.~.§.wm w w.~_wwm.w.`. 0 B.owm.m.;

 

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q . mmwma 03 ._.05_ _um< § 00100 02 1003 1_0§< Om~m=.

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Case 2

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Case 2

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Case 2

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0000\~000 00.000 0_000 NE_NO
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d0m\w00w o.ooo N\ wm
20 m\woow 3000 n5000 0.~0“ .m.`.
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dm\woou 0».000 a.ooo »NN.§
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dw\woou 8000 8000 0 00 .w¢
du\woou 3000 0>.000 wmw.mm
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m\~w\woou N>.ooo N».ooo ~N.om
m\mm\woow 0>.000 0¢.000 wmw.mm
m\~n hoow ~>.000 §.000 33
. mdm\woow o.ooo Nw..~m
mdm\moow 0N0.000 0No.000 N.zo..~m
000£~000 8000 .
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m\u:woow 0 00.000 0 00.000 0.wm~.um
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mk\woom N+ooo § .000 000
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A\Mo\mcou 8000 8000 000 .w>
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u\u \Noou o`ooo 30»..,».9
w\m \Noou 0»».000 02 .ooo N.mmm.mm
05 \Noow N»,ooo ~“.000 N0.m»
m\wo\moow . 000 .
w\wo\~oow 8000 8000 000 00
u\»@\~oom N`..ooo ~»,000 ~0 .m»
w\mm\moow Nh.ooo N>.ooo N0 .m»
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Case 2

Io:.‘m x_w~oQ 003

 

<<m_mw_ ro:m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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m~_u.._ma. O<o_.z_.:o 0<¢3_:.; rom<o Em£. rov<o. ooSu cmoa. oo_.:u ¢<\n~<. cun_.mao O:»<. 40._.>_. 40._.>r
u\&moou N¢.ooo m>boo § .ma
u\m\moom N».ooo N».ooo § .m»

N\~m\~oow Q.ooo § .wu
N\Nm\moom wm.ooo wm.ooo __.\ `_ N.mw
N\~m\~oow »».ooo N».ooo § .m»
N\Nw\~oow wage N>.ooo § .m»
~\E \Noow N>.ooo N».ooo ~._ .m»
N\No\moom :,ooo ._A.ooo umu.mm
w:m\moou , m>.ooo ~+ooo Qo.wm
N: m\moou o`ooo Nw.~w
~: w\~oou jo_ooo :o_ooo __me,u»
~\I\Noou Ao.ooo , 5000 293

NQ\Noow N».ooo N.rooo § .m»
N\wnoow ~».ooo ~»_ooo wo.wm
<w.:~oow o.ooo Nm.~m
twi~oou J~o.ooo Bo.ooo N.Ko..-
\Nwd com ~A.ro § .ooo wo.om
§§ 03 wage § .ooo § . §
§§ oow ~».ooo md .ooo uo. wm
\No\~oou Am.ooo 2 .ooo T». .m
: m\~oou 5000 ._m,ooo I~mm
\ dweon G.ooo B.ooo wmm.>m
\ m\moow ;.ooo z.ooo § §
\ m\~oou o.ooo ~u.~m
:G.\woou Bo.ooo Bo.ooo ~.IQ.U
§m\~oow Nooo .
§ m\~oow ~.ooo Nooo 34 md
._\m\moom Ao.ooo 3.000 ,_N.wo
`m\moo . . K.ooo K.ooo §§
d\Noo ~.rooo N».ooo § .m>
§ _doc~ o.ooo Dm».w$
t § now Bo.ooo ._~o.ooo ~.om~.mo
. §§ oo. B.Qoo 3.000 B.mo

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§§ m\~oom a.ooo Nw.wo

3\ m\~oo~ wm.ooo wm.ooo mmi .X
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42 :~oo~ B.ooo _o.ooo Sw.@m
S\mdoo~ m>.ooo ~>,ooo AS.mm
B\N\~oom NA.ooo ~>.ooo b 4 Nmm

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ido\~oom io.ooo :o.ooo .._QG.E

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4 :m\woo~ jo.ooo jo.ooo ._.@G.m*_

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d :_..,<~oo~ _~_ooo §.ooo w§ .B
:\m\NooN S.ooo Ao.ooo _N_mo
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Ao\w:~oom o.ooo Aww».wm~

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S\w._\moow N>.ooo ~».ooo f umw

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o: m\~oo~ Ao.ooo B.ooo S.mo
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Case 2

Ioc$ I_m_o_.< Oo§.r

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om$ 313 m:&: m~_~_._»q. 0<¢3_:5 O<»:_Bo ro~<¢ Em£. r¢m<m. no§u cnan. noBo E\vm<. cna_.~n¢ oc»<. ._.Od£. ._.O.EF
40\>\~00» Na.ooo N».ooo uo.NA
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03 m\»oom o.ooo Nm.NA
wl m\woow mm.ooo mm.ooo d_»®m.~m
m3 »\Noom w>.ooo N>.ooo webb
mh\moom `_o.ooo »o.ooo Sw,wm
md\woo~ ._Pooo ?Pooo `_.\..m»
m\>\moow §.ooo X.ooo w§.m>
m\u\moo~ m>.ooo m».ooo >;.mm
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m\~wd con ~».ooo NA.ooo wo.m»
m\w»\~oo~ i.ooo i.ooo u:.mb
m3 w\moo~ o.ooo Nu.~o
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m\~\moo~ N>.ooo m».ooo uo.m»
m\._ Boo~ I.ooo z.ooo ww, .mm
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ad m \Noo~ o.ooo Nu.mo
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~: u\moo~ N>.ooo N>.oco uo.w>
wh :Noom N».ooo NA.ooc uo.~»
.\:o\woom m.ooo m.ooo N._Pom
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v\u\moom N>.ooo N».ooo QQ.N»
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m\~»\moo~ K.Qoo _».ooo w§.m»
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m:m\~oow m+ooo ~Pooo §,\.mm
m:dwoow Jo.ooo ¢o.ooo Nm-mo
md m\moom m§ooo »».ooo wo.~»
wh w\woow o.ooo o.wu
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Case 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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m\._w\~oow 1000 3000 wow.om
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m\m\~oo~ 0.000 0.000 1.~1
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md\woom 9me o.mmo 1303
md\~oo~ 10.000 10000 00001
m\.~\~oom o.;o 930 w.wm
201\~00~ 0000 Nu.~o
m\u._\woo~ wm.ooo wm.ooo 11030.»¢
m\~o\~oo~ 0.000 0000 1100
\mw\moom ~»000 N».ooo wo.w»
\10\~00~ 2000 §000 2300
d m\~oo~ o.ooo Nw.mo
Q._w\~oo~ 3000 3000 mww.j
msw\uoow N>.ooo ~».000 230
m`w\Noow §000 ~>.000 01 30
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1\00\~00~ o.ooo Nw.wo
200\~00~ §000 »».000 »3.mm
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>\0\~000 10.000 10000 3000
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Case 2

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xoc_.» . 1 ._.o~»_ cua_sno . m >:::~1 nc:o_.~_ v»<ao<<: . >n_._.._: ._.¢Bu .E_.<
008 v¢_‘_on m_._&: mu_m_._¢a. 0<2»_=5 O<o;=:a rom<n Ew£. rom<¢. 0030 Cm»n. oo_.:u £\nw<. coo_.nao 0:»<.. ._.O._,>r ._.O._.>r
1»\11\~001 3000 3000 30.>~0
1~\0\~001 3000 N».ooo 303.~0
1~3§001 NA.ooo 3000 303.»0
305001 0.000 NN.mN
\wo\~oo1 1N0.000 1~0.000 N.owm,wm
\Nw\~001 3000 3000 101.®»
1 \N>\Noo._ 0000 3000 10.3m
1 \NQN001 3000 3000 wmm.wv
11\~3\~001 . 0.000 .10000 jm.»m~
11\»3\»001 3000 3000 N-.mm
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113 01~001 ~3.000 »3.000 wo.m.@l
11\1@\~001 o.ooo ~N.mw
11\10\~00 3000 00.000 1 001.0~
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11\1~§00 v.moo 3000 1»3.~3
11\1~\~00 19on m.moo 3000
1 1\10`~00 3000 0.000 wm>.mm
11\10\~00 3000 3.000 wmm.ww
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1o\w1\Noo1 133.000 1>0.000 N.§w. m
069»001 3000 3000 umm.. 3
Q`Nm\woo 3000 3000 m.. 0
o\m3\w00 3000 3000 wmm,u.~
10\Nw\moo 3000 3000 1131
10`1w\uooH o.ooo NN.mN
10\1m\m001 1~0.000 30000 ~_owm.um
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m\wo\wo§ o.ooo NN.m1
m\oo\~oo 3000 mm.ooo 1.100.03
030\~00 3000 3000 3.»~
m\uo\m001 1.moo 1000 101
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0\10\N001 N>.ooo ~3.000 303.~
m\ 3301 N3.ooo N3.000 303.~
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900 00 10.000 0.000 0.30
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m\ 5001 1».000 1~.000 1013
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m\w:moo 13.000 13.000 ~P§u.mm
050\~00 3000 10.000 1~.00
m\uo\moo 3000 3000 1~.10
m\Nm\moo 0.000 w.ooo 3.mw
m\wm\moo 3000 m.ooo __m..»m
m\~t~o? 300 .
m\mu\moo 1~.000 N.ooo 333
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Case 2

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2

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Case 2

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Case 2

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